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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov
In re:

 ALEJANDRO FABIAN SCOLNIK,                           Case No. 19-16856-RAM
                                                     Chapter 7
           Debtor.
 _______________________________/

         NOTICE OF RULE 2004 EXAMINATION DUCES TECUM SUBPOENA OF
                      BANK OF AMERICA CORPORATION

         MARCIA T. DUNN, as Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of

ALEJANDRO FABIAN SCOLNIK. (the “Debtor”), by and through her undersigned counsel,

pursuant to Fed.R.Civ.P. 34 and 45, Fed.R.Bankr.P. 2004, 7030, 7034 and 9016, and Local Rule

2004-1, will examine the following examinee (the “Examinee”):

Examinee                                         Date                   Location

BANK OF AMERICA CORPORATION                      November 8, 2019       Dunn Law, P.A.
c/o C T Corporation System                       at 9:30 a.m. (EST)     66 West Flagler St.
1200 South Pine Island Road                                             Suite 400
Plantation, FL 33324                                                    Miami, Florida 33130


         The examination is pursuant to Fed.R.Bankr.P. 2004 and Local Rule 2004-1. The scope of

the examination shall be as described in Fed.R.Bankr.P. 2004. Pursuant to Local Rule 2004-1, no

order shall be necessary, and to the extent that a request for production of documents under this rule

may be construed as a request under Bankruptcy Rule 7034, the time to respond is shortened to

fourteen (14) days.

             DOCUMENTS CAN BE PRODUCED IN LIEU OF APPEARANCE

         The Form Subpoena for Rule 2004 Examination with document requests described on

Schedule “A” is attached to this notice. The Examinee is required to produce the documents listed
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on Schedule “A” to the offices of Dunn Law, P.A., 66 West Flagler Street, Suite 400, Miami,

FL 33130, or by e-mail to: barry.turner@dunnlawpa.com and mzucker@dunnlawpa.com.

                                CERTIFICATE OF SERVICE

       I CERTIFY that a true and correct copy of the foregoing was served by U.S. First Class
Mail on October 7, 2019, upon the following:

        BANK OF AMERICA CORPORATION                        BANK OF AMERICA CORPORATION
        c/o C T Corporation System                         c/o BRIAN T MOYNIHAN, CEO
        1200 South Pine Island Road                        150 N COLLEGE ST; NC1-028-17-06
        Plantation, FL 33324                               CHARLOTTE, NC 28255

       I CERTIFY that a true and correct copy of the foregoing was served via Notice of

Electronic Filing (CM/ECF) on this 7th day of October, 2019, upon all registered users in this case.

                                              DUNN LAW, P.A.
                                              Counsel for Marcia T. Dunn, Trustee
                                              66 West Flagler Street, Suite 400
                                              Miami, Florida 33130
                                              Tel: 786-433-3866 || Fax: 786-260-0269
                                              barry.turner@dunnlawpa.com

                                              By:    /s/ Barry S. Turner Esq.
                                                     Barry S. Turner, Esq.
                                                     FL Bar No. 85535




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                                             SCHEDULE “A”

                                            DEFINITIONS

        Unless the context of a specific request requires otherwise, the following definitions and
instructions shall apply to these requests:

        A.      “YOU”, “YOUR” or “EXAMINEE” shall refer to BANK OF AMERICA
CORPORATION, and includes any officers, directors, employees, agents, attorneys, associates,
predecessors, successors, assigns, affiliates, subsidiaries, divisions, partners, parents, joint ventures,
representatives, and any and all other persons acting on behalf, acting for, purporting to act for, or
subject to or under the control of BANK OF AMERICA CORPORATION, or its subsidiaries,
parents, predecessors or successors.

       B.        “DEBTOR” or “SCOLNIK” shall refer to the Debtor, ALEJANDRO FABIAN
SCOLNIK and includes any employees, agents, attorneys, associates, predecessors, successors,
assigns, affiliates, subsidiaries or entities acting on behalf or under control of SCOLNIK.

         C.      “PIACERE” shall refer to PIACERE NEWS & CAFE CORP. (FEI/EIN No. 39-
2080226) and includes any officers, directors, employees, agents, attorneys, associates,
predecessors, successors, assigns, affiliates, subsidiaries, divisions, partners, parents, joint
ventures, representatives, and any and all other persons acting on behalf, acting for, purporting to
act for, or subject to or under the control of PIACERE, or its subsidiaries, parents, predecessors or
successors.

         D.     “GODIVA” shall refer to GODIVA AMERICAN, CORP. (FEI/EIN No. 65-
0476533) and includes any officers, directors, employees, agents, attorneys, associates,
predecessors, successors, assigns, affiliates, subsidiaries, divisions, partners, parents, joint
ventures, representatives, and any and all other persons acting on behalf, acting for, purporting to
act for, or subject to or under the control of GODIVA, or its subsidiaries, parents, predecessors or
successors.

         E.     “SANTA FE” shall refer to SANTA FE RESTAURANT GROUP, LLC (FEI/EIN
No. N/A) and includes any officers, directors, employees, agents, attorneys, associates,
predecessors, successors, assigns, affiliates, subsidiaries, divisions, partners, parents, joint
ventures, representatives, and any and all other persons acting on behalf, acting for, purporting to
act for, or subject to or under the control of SANTA FE, or its subsidiaries, parents, predecessors
or successors.

       F.       “BRICKELL RESTAURANTE” shall refer to BRICKELL RESTAURANTE,
LLC (FEI/EIN No. XX-XXXXXXX N/A) and includes any officers, directors, employees, agents,
attorneys, associates, predecessors, successors, assigns, affiliates, subsidiaries, divisions, partners,
parents, joint ventures, representatives, and any and all other persons acting on behalf, acting for,
purporting to act for, or subject to or under the control of BRICKELL RESTAURANTE, or its
subsidiaries, parents, predecessors or successors.

        G.     “LATTE” shall refer to LATTE S.I. (FEI/EIN No. N/A) and includes any officers,
directors, employees, agents, attorneys, associates, predecessors, successors, assigns, affiliates,
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subsidiaries, divisions, partners, parents, joint ventures, representatives, and any and all other
persons acting on behalf, acting for, purporting to act for, or subject to or under the control of
LATTE, or its subsidiaries, parents, predecessors or successors.

         H.      “GRAND” shall refer to THE GRAND, LLC (FEI/EIN No. N/A) and includes any
officers, directors, employees, agents, attorneys, associates, predecessors, successors, assigns,
affiliates, subsidiaries, divisions, partners, parents, joint ventures, representatives, and any and all
other persons acting on behalf, acting for, purporting to act for, or subject to or under the control
of LATTE, or its subsidiaries, parents, predecessors or successors.

        I.     “GLADYS” shall refer to Gladys Ulloa Scolnik, and includes any employees,
agents, attorneys, associates, predecessors, successors, assigns, affiliates, subsidiaries or entities
acting on behalf or under control of GLADYS.

       J.     “Case” or “instant cause” means the instant bankruptcy case, styled In re: Alejandro
Fabian Scolnik (Case No.: 19-16856-RAM-RAM), pending in the United States District Court,
Southern District of Florida, Miami Division.

        K.      “Petition Date” shall mean May 23, 2019.

       L.     “Bank accounts” shall mean any checking, savings, certificates of deposit and other
deposit accounts held by a financial institution, bank or credit union.

       M.     “Creditor” shall mean any person or entity to whom the Debtor owes money or is due
performance of any other contractual obligation.

        N.      “Communication” or “Communications” includes every manner of transmitting or
receiving facts, information, opinions or thoughts (including, but not limited to: visually; orally;
in writing; by digital, analog, electronic, magnetic, telephonic, or other mechanical means; or
otherwise), including, without limitation, oral conversations, telephone calls, written
correspondence, memoranda or notes, meetings document transmittals, facsimiles, emails or any
other method by which information is transmitted.

        O.      “Concerning”, “concern,” or any other derivative thereof, as used herein shall be
construed as referring to, responding to, relating to (as defined herein), pertaining to, connected
with, comprising, memorializing, commenting on, regarding, discussing, showing, describing,
reflecting, analyzing or constituting.

       P.     “Contract” or “contracts” shall mean (a) an agreement, oral or written, between two
or more Persons which creates an obligation to do or not to do a particular thing, and (b) any
document which serves as proof of the obligation, including, without limitation, any subcontract,
insurance policy or other formal agreement, including exhibits, attachments, amendments
(whether with or without effect), modifications (whether with or without effect), and addenda.

        Q.     “Document”, “documents”, or “documentation” means the original or a copy of any
tangible thing from or on which Information can be stored, recorded, processed, transmitted,
inscribed, or memorialized in any way by any means, regardless of technology or form an
including, but not being limited to: accounting books or records; accounts; account statements;
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affidavits; agendas; agreements; analyses; applications; appointment books; appraisals; audio
tapes; balance sheets; bordereaux; books; books or records of account; brochures; cables;
calendars; catalogues; CD-ROMs; certificates; charts; circulars; compact discs; computer
printouts; contracts; correspondence; data processing input and output; deeds; deposition
transcripts; desk calendars; diaries; digital images; drafts; DVDs; DVD-ROMs; electrical
recordings; electronically stored Information, e-mail communications; evaluations; Excel
spreadsheets; experiments; faxes; facsimiles; films; financial statements; floppy disks; guides;
guidelines; hard copies of electronic, electrical, magnetic or any other communications not made
on paper; hard disk drives; hearing transcripts; income statements; instant messages; interoffice
communications; journals; ledgers; letters; lists; logs; magazines; magazine articles; magnetic
recordings, magnetic tapes; manuals; memoranda; microfilms; minutes; newspapers, newspaper
articles; notations, notebooks; notes; objects; opinions; papers; photographs; policies; powerpoint
presentations; procedures; profit and loss statements, prospectuses; receipts; recordings; releases;
reports; schedules; signature cards; sound recordings; spreadsheets; statements; statements of cash
flow; statistical records; stock certificates; summaries of accounts; summaries; tables; tabulations;
tangible things; telecommunications; telegrams; telefaxes; telex messages; tests; text messages;
titles; transcripts; videos; videotapes; websites; work papers; and any other writings, be they
typewritten, handwritten, printed, stored in or on any form of electronic or magnetic media, or
otherwise, and other records, recordings or pictures of any kind or description. Each copy of a
document which contains any separate notations or writings thereon shall be deemed to be a
separate document for purposes of these requests. Any document identified will include any
document, in draft or final form, either sent or received by You. This term also includes any
documents now or ever in Your possession, custody or control, or available to You, Your attorneys,
accountants, agents, representatives, employees, or associates, and specifically includes
documents kept by individuals in their desks, at home, or elsewhere.

        R.     “Documents” shall also mean all electronic data storage documents or
electronically stored information (ESI) including, but not limited to, e-mails and any related
attachments, electronic files or other data compilations which relate to the categories of documents
as requested below. Your search for these electronically stored documents shall include all of
Your computer hard drives, floppy discs, compact discs, backup and archival tapes, removable
media such as zip drives, password protected and encrypted files, databases, electronic calendars,
personal digital assistants, proprietary software, and inactive or unused computer disc storage
areas.

       S.      The term “ESI” shall mean any and all electronically stored information, including
e-mails, texts, writings, drawings, graphs, charts, photographs,documents, sound recordings,
images, and other data or data compilations stored in any medium from which information can be
obtained either directly or, if necessary, after translation by the responding party into a reasonably
usable form as set forth in Rules 26 and 34 of the Federal Rules of Civil Procedure, Rules 7026
and 7034 of the Federal Rules of Civil Procedure and Rule 1001 of the Federal Rules of Evidence.

        T.       “Information” shall be expansively construed and shall include, but not be limited
to facts, data, opinions, images, impressions, concepts and formulae.

       U.      “Person” means any natural person, firm, partnership, joint venture, corporation, or
group of natural persons or such entities.

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       V.       “Relating to,” “related” or “relating” means, directly or indirectly, refer to, mention,
describe, pertain to, arise out of or in connection with or in any way legally, logically, or factually
connected with the matter discussed.

        W.      When referring to a person, the term “Identify” shall mean to give, to the extent
known, the person’s full name, present or last known address, present of last known telephone
number, present or last known e-mail address, and when referring to a natural person, additionally,
the present or last known place of employment. Once a person has been identified in accordance
with this paragraph, only the name of that person need be listed in response to subsequent
discovery requesting the identification of that person.

        X.     When referring to a document, the term “Identify” shall mean to state the type of
document as defined herein, the subject matter thereof, the date thereof, by whom it was written
or prepared, by whom it was signed, to whom it was sent, the present location (name and address
of place) thereof, and the present custodian of the original or copies thereof, so that the document
is described in sufficient enough detail that it could be subject to a request for production of
documents under the applicable rules of civil procedure. If any such document was, but no longer
is, in Your possession or subject to Your control, state the disposition of the document.

        Y.      When referring to a communication other than a document, the term “Identify” shall
mean to describe the communication in such a manner that all the following Information is
provided: (1) whether the communication took place in person, by telephone, via e-mail, or
otherwise; (2) if by telephone, the identity of the person originating the call, the identity of the
person receiving the call, the identity of all other persons participating in the communication, and
the location of each of those persons at the time of the communication; and the identity of all other
persons present within hearing of any party to the communication; (3) if by e-mail, the identity,
including name and e-mail address, of the person originating the e-mail; the identity or identities,
including name and e-mail address, of all recipients; both intended and unintended, and including
persons to whom blind copies were sent, of the e-mail communication; the date and time of the
communication; all replies to and forwards of the original communication; the subject of the e-
mail communication; and the identity and physical location of the computer, network, or server
from which the e-mail was sent; (4) in in Person, the identity of all persons present during the
communication and the location of the communication; (5) the date and time of the
communication; (6) to the best of Your recollection, what was said by each party to the
communication; and (7) the identity of the custodian of any document that recorded, summarized,
or concerned the communication.

       Z.     The connectives “and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of this discovery all responses that might
otherwise be construed to be outside of its scope.

         AA. The words “any,” “all” and “each” shall be construed as necessary to bring within
the scope of this discovery request all responses that might otherwise be construed to be outside
of its scope.

       BB.     The use of the singular form of any word includes the plural and vice versa.

       CC.     The use of the masculine form of any word includes the feminine form and the
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neuter form, and vice versa.

                                         INSTRUCTIONS

       With respect to this request for documents, the following instructions shall apply:

        A.      This request for documents is continuing so as to require supplementary documents
if additional information or documents hereafter are obtained or discovered which may augment
or otherwise modify the information that You provide and documents that You produce.
Supplementary documents are to be served within five (5) days after receipt or discovery of such
information or documents.

        B.      Examinee is hereby notified that its duty to respond to this document request includes
the duty to furnish all information, documents and materials which are in Your possession or
available to You, including all those which can be obtained from additional sources or in the
possession of Your agents, representatives, employees, investigators, attorneys, or anyone acting
on their behalf or on Your behalf, pursuant to Fed.R.Bankr.P. 7036. If You are unable to locate any
requested information or document after exercising due diligence to secure the requested
document, so state.

       C.      In the event that any document requested herein is not presently in Your possession
or subject to Your control, please identify each person You have reason to believe had or has
knowledge of its contents.

         D.      If any document is not produced under a claim of privilege, for each such document
identify the nature of the privilege (including work product) that is being claimed, indicate the
document request to which the document is responsive, and provide the following information,
unless divulgence of such information would cause disclosure of the allegedly privileged
information: (1) the type of document, including the number of pages, and attachments or
appendices; (2) the general subject matter of the document; (3) the date of the document; (4) all
persons to whom the document was distributed, shown or explained; and (5) such other information
as is sufficient to identify the document for a subpoena duces tecum, including, where appropriate,
the author of the document, the addressee of the document, and, where not apparent, the
relationship of the author and the addressee to each other.

        E.      In the event that any document called for has been destroyed, discarded, or
otherwise disposed of, identify the document by stating its: (a) author or preparer; (b) addressee(s);
(c) indicated or blind copies; (d) date; (e) subject matter; (f) number of pages; (g) attachments or
appendices; (h) all Persons to whom it was distributed to or shown; (i) date of destruction of other
disposition; (j) manner of destruction or other disposition; (k) reason for destruction or other
disposition; (l) Person destroying or disposing of the document; and (m) the document request or
requests to which the document is responsive.

       F.     In producing documents requested herein, You shall produce documents in full,
without abridgment, abbreviation, and expurgation of any sort.

        G.      To the extent this request seeks production of ESI residing elsewhere other than, or in
addition to, on back-up copies, such information should be produced in its Native Format on hard
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drive or other digital storage media that does not otherwise detract from the original format of the
files, or that by default may exclude or somehow later any metadata associated with said files. The
information produced should include any original or existing full file path, file or fold structure, or
other source referencing data, and be fully inclusive of all supporting and underlying data, the absence
of which would render the information incomplete or unusable. For purposes of this Instruction, the
term “Native Format” shall meant he format that the data was original created in. This should include,
but not limited to, information about the software that the data was created in, stored in, or was used,
or is used to read, write, alter, modify, or in any way change or manipulate the data.

        H.     All archived data being produced in response to this Request should be provided with
the means to view and export such data. Paper documents that are not otherwise contained, stored,
or recoverable by electronic means should be provided either in paper format, or via a scanned image
in a .TIFF format. Colored pages, photographs or other documents among such paper documents that
would otherwise loose the color format should be scanned in.JPEG or other standard color format.

       I.     All documents shall be produced as they are kept in the usual or ordinary course of
business with any identifying labels, file markings or similar identifying features, and shall be
organized and segregated in accordance with the numbered and lettered paragraphs and
subparagraphs herein, pursuant to Fed.R.Civ.P. 45, made applicable in bankruptcy cases by
Fed.R.Bankr.P. 9016.

       J.      All requests herein refer to the period from January 1, 2015 to the date of
production, unless otherwise specifically indicated, and shall include all documents and
information that relate to such period, even though prepared, generated or published prior to or
subsequent to that period.

                                    DOCUMENT REQUESTS

         1.     Complete copies of any and all bank/account statements (periodic or monthly) and all
support for all deposits, withdraws and transfers (including, without limitation, account statements
and ledger accounts, memoranda, signatory cards, checkbooks, canceled checks (front and back), wire
transfers (incoming and outgoing), requests, debit or credit advices or memos, deposit slips, withdraw
slips, or any other records), relating to all open or closed accounts of any type or nature maintained
by You that are in the name or joint name of SCOLNIK, PIACERE, GODIVA, SANTA FE,
BRICKELL RESTAURANTE, LATTE, GRAND, and/or GLADYS, were/are an authorized
signer, exercise(d) control, or has/had an interest in, from January 2015, to present.

       2.      Any and all signature cards that name SCOLNIK, PIACERE, GODIVA, SANTA
FE, BRICKELL RESTAURANTE, LATTE, GRAND, and/or GLADYS, as an authorized
signatory on any financial account (including any bank, investment, credit, money market or other
account), for any entity or other third party), from January 2015, to present.

       3.     Any and all documents that evidence, refer or relate to any transfers made to or
from any financial account held for the benefit of SCOLNIK, PIACERE, GODIVA, SANTA FE,


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BRICKELL RESTAURANTE, LATTE, GRAND, and/or GLADYS, by any third party, from
January 2015, to present.

       4.      Any and all documents submitted to You by SCOLNIK, PIACERE, GODIVA,
SANTA FE, BRICKELL RESTAURANTE, LATTE, GRAND, and/or GLADYS for any advance,
loan or financing (interim or permanent), in any capacity (borrower, guarantor, or surety), from
January 2015, to present.

       5.     Complete copies of all loans or financing (interim or permanent) by You under
which any indebtedness was owed from January 2010 to present, which loans were made to
SCOLNIK, PIACERE, GODIVA, SANTA FE, BRICKELL RESTAURANTE, LATTE,
GRAND, and/or GLADYS, including, without limitation, promissory notes, mortgages,
agreements, extensions, letters, affidavits, pledges, assignments, subordination agreements or
other documents.

        6.     Copies of any and all borrowing base reports, draw requests, account statements,
ledger statements or any other documents (including, without limitation, promissory notes,
agreements, extensions, letters, affidavits, pledges) relating to a request for an advance, loan or
financing (interim or permanent) made by SCOLNIK, PIACERE, GODIVA, SANTA FE,
BRICKELL RESTAURANTE, LATTE, GRAND, and/or GLADYS, from January 2015, to
present.

        7.     Copies of any and all financial documents (including, without limitation, financial
statements, balance sheets, statements of profit and loss, account ledgers, schedules, summaries, and
analyses) submitted to You by SCOLNIK, PIACERE, GODIVA, SANTA FE, BRICKELL
RESTAURANTE, LATTE, GRAND, and/or GLADYS, for any advance, loan or financing
(interim or permanent) in any capacity (borrower, guarantor, or surety), from January 2015, to
present.

        8.     Any and all documents submitted to You by SCOLNIK, PIACERE, GODIVA,
SANTA FE, BRICKELL RESTAURANTE, LATTE, GRAND, and/or GLADYS, from January
2015, to present.

         9.     Any and all documents that evidence, refer or relate to any interest in, or claimed
title to, any certificates of deposit, letters of credit, money orders, cashier’s checks, traveler’s
checks, bank deposits, or escrow funds owned or held by SCOLNIK, PIACERE, GODIVA,
SANTA FE, BRICKELL RESTAURANTE, LATTE, GRAND, and/or GLADYS, from January
2015, to present.

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        The Trustee expressly reserves the right to request additional documents as the
investigation continues, as the litigation proceeds, as additional issues are uncovered, and as
clarifications are required.




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